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12
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13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
      UNITED STATES OF AMERICA,                 No. CR 22-00046-MCS
15
                 Plaintiff,                     GOVERNMENT’S OPPOSITION TO
16                                              DEFENDANT’S MOTION TO COMPEL
                       v.                       DISCOVERY
17
      ANDREW ARCHIE REYES,                      Hearing Date: August 26, 2024
18                                              Hearing Time: 11:00 a.m.
                 Defendant.                     Courtroom:    Courtroom of the
19                                                            Hon. Steven V.
                                                              Wilson
20

21
            Plaintiff United States of America, by and through its counsel
22
      of record, the United States Attorney for the Central District of
23
      California and Assistant United States Attorneys Thomas J. Magaña and
24
      Jehan M. Pernas, hereby files its opposition to defendant Andrew
25
      Archie Reyes’ motion to compel discovery (Dkt. 71). This opposition
26
      is based upon the attached memorandum of points and authorities, the
27

28
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1     files and records in this case, and such further evidence and

2     argument as the Court may permit.

3

4      Dated: August 16, 2024               Respectfully submitted,

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9                                            /s/ Thomas J. Magaña
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1                         MEMORANDUM OF POINTS AND AUTHORITIES

2     I.    INTRODUCTION

3           The government has been responsive to defendant’s discovery

4     requests, regarding (1) additional video recordings from the social

5     security office, (2) impeachment material for J.P., (3) the face mask

6     policy at the Social Security Administration (“SSA”) and the FPS, (4)

7     Mr. Reyes’ entire Social Security Administration File, and (5) Grand

8     Jury transcripts.       At a meet and confer on August 8, 2024, the

9     government updated defense counsel on these discovery requests
10    detailed in their motion to compel, and following their motion to
11    compel, the government has continued to be in contact with counsel
12    and informed them (1) that there are no further video recordings from
13    the SSA beyond those provided, (2) that the government has complied
14    with its Giglio/Henthorn obligations regarding J.P., (3) that the
15    government has provided all documentation in its possession regarding
16    the mask requirement at the SSA, and (4) how to obtain any and all
17    documents related to Mr. Reyes from the SSA.            In short, the
18    government has complied with its discovery obligations, and

19    defendant’s motion should be denied.

20          A.      Background

21          Defendant Andrew Reyes assaulted security guard J.P. on February

22    10, 2023. In a brief interaction that lasted under two minutes, and

23    has been fully captured on video 1, defendant Andrew Reyes

24    (“defendant”) approached the front door of the Ventura Social

25    Security Administration Office (“SSA”). At the front entrance, J.P.,

26    a security guard employed by Paragon Systems and contracted to assist

27

28
            1   There is no audio.
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1     the Federal Protective Service, provided defendant with a mask, which

2     at that time was required to enter the facility. Defendant refused to

3     wear the mask, grew upset, cursed at J.P., flung the mask at him, and

4     struck J.P. in the shoulder with his fist. J.P. attempted to detain

5     the defendant and a struggle ensued, during which J.P. pepper sprayed

6     the defendant and the defendant grabbed J.P.’s baton and struck him

7     multiple times. J.P. then drew his service weapon and pointed it at

8     the ground, and defendant, feeling the effects of the pepper spray,

9     relinquished the baton, and sat down.
10          On April 14, 2023, the government charged defendant in a single
11    count indictment for violating 18 U.S.C. § 111(a)(1), (b) (Assault on
12    a Person Assisting Federal Officers and Employees Using a Dangerous
13    and Deadly Weapon, Resulting in Bodily Injury).
14          B.    Discovery
15          Since defendant’s arrest, the government has produced video
16    footage of his assault on J.P. from two different cameras (as well as
17    footage from nine other cameras on the property), video footage from
18    the body camera videos of the Ventura Police Department (“VPD”) who

19    responded to the incident, and video recordings of defendant’s

20    mirandized interview. It has further produced over 6,000 pages of

21    other discovery, including photos from the scene, law enforcement

22    reports, witness statements, defendant’s prior arrest reports and

23    certified conviction records, social security documentation of his

24    prior threats and misconduct at social security offices, the contents

25    of his phone, and the operative contract and post orders for

26    protective security officers at the Ventura SSA, among many other

27    items.

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1           On August 8, 2024, defendant filed a motion to compel five

2     categories of discovery.      As explained below, defendant’s motion is

3     meritless as to each category or is already moot.

4           Defense Request 1: All video (and audio) recordings of
            public areas at the Ventura Social Security Office,
5           beginning 10 minutes before, and continuing 10 minutes
            after, the February 10, 2023 incident between Mr. Reyes and
6           the complaining witness, J.P.;

7           The government has produced the full video of defendant’s

8     assault on J.P. and all related interactions. The Social Security

9     Office Surveillance video is 27 minutes long, begins approximately
10    one minute before defendant approaches the SSA doorway, and concludes
11    after he departs the scene in police custody. See USAO_006658. The
12    Government has also produced security video from ten different
13    OmniNet Property Management cameras on the property, some of which
14    show defendant walking across the property toward the social security
15    office, as well as his assault of J.P., and its aftermath. This video
16    begins approximately five minutes before his assault and continues
17    for approximately twenty minutes thereafter. See USAO_006160.
18    Defendant’s demand for video footage of the inside of the Ventura SSA

19    is not relevant to this case, as defendant never entered the Ventura

20    SSA, and his entire interaction with J.P. is captured on an exterior

21    camera. Defendant’s demand for an adverse jury instruction on this

22    subject is therefore meritless.

23          Defense Request 2: Any and all impeachment material from
            the personnel file of the complaining witness, J.P., who
24          was a Paragon security officer stationed at the Ventura
            Social Security Office
25
            The Government has complied with its Giglio/Henthorn obligations
26
      and notified the defense that there is no information responsive to
27
      this request.
28

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1           Defense Request 3: The face mask policy in effect at the
            Ventura Social Security Office on February 10, 2023, and
2           any related policies promulgated by the Social Security
            Administration as to the enforcement of any such policy at
3           the Ventura Office

4           The government has provided the defense with a photos of the

5     sign posted at the doorway where J.P. was standing on the day of

6     defendant’s assault, which states clearly in block text: “ATTENTION

7     VISITORS YOU MUST WEAR A FACEMASK AT ALL TIMES,” (USAO_006613; Magaña

8     Decl. Ex. A), as well as the PSO Post Orders in effect on the date of

9     the incident, which state “PSO [Protective Security Officer] will
10    instruct visitors to maintain physical distancing and to wear a
11    mask.” (USAO_000110). The government has further provided the defense
12    with electronic copies of multiple covid-related signs provided by
13    the SSA. (Magaña Decl. Ex. B).        These documents more than make clear
14    that the Ventura SSA required all customers to wear a mask on the
15    date that defendant assaulted J.P. Defendant has not explained what
16    relevance any further documents on this subject might have, and this
17    request seeks evidence that is cumulative if not irrelevant.
18    Nevertheless, the government has requested that SSA OIG provide any

19    further documents responsive to this request, and will provide

20    anything further it receives from the SSA.

21          Defense Request 4: Mr. Reyes’s entire file maintained by
            the Social Security Administration.
22
            These documents are freely available to the defendant upon his
23
      request, and are not in the government’s exclusive possession. The
24
      government has already produced all files related to the defendant
25
      that were in the custody of the Ventura Social Security Office, and
26
      has provided defendant with the appropriate form to request any
27

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1     category of his records from the SSA more broadly, and also offered

2     to help expedite the request.

3           Defense Request 5: All transcripts of testimony before the
            grand jury.
4
            None of the government’s trial witnesses testified before the
5
      grand jury.    Defendant has not met his burden to demonstrate a
6
      particularized need for grand jury transcripts.
7
            Accordingly, the government has complied with its discovery
8
      obligations and defendant’s motion should be denied.
9
      II.   LEGAL STANDARD
10
            Criminal discovery arises from three primary sources.              First,
11
      F.R.C.P. 16 establishes guidelines for pretrial production by the
12
      government of certain limited materials.           Second, under Brady v.
13
      Maryland, 373 U.S. 83 (1963), and its progeny, including Giglio v.
14
      United States, 405 U.S. 150 (1972), the government is obliged to turn
15
      over to the defense evidence in its possession that is exculpatory or
16
      favorable to the defendant.       Finally, under 18 U.S.C. § 3500 and
17
      Federal Rule of Criminal Procedure 26.2, both parties must disclose
18
      prior statements by witnesses after the witness has testified.                None
19
      of these sources authorize Afishing expeditions@ or sweeping discovery
20
      requests.    United States v. Bagley, 473 U.S. 667, 675 (1985); see
21
      also United States v. Agurs, 427 U.S. 97, 106 (1976) (“there is, of
22
      course, no duty to provide defense counsel with unlimited discovery
23
      of everything known by the prosecutor”).
24
            Rule 16 imposes discovery obligations upon both the government
25
      and the defendant.      Rule 16(a)(1) lists five categories of materials
26
      that must either be produced or made available for inspection, most
27
      relevant here: documents and objects in the possession of the
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1     government that are material to the preparation of the defense or

2     intended to be used in the government’s case-in-chief.              With respect

3     to this category, Rule 16(a)(1)(E)(i) states that a defendant is

4     entitled to discovery of such items if they are “within the

5     government’s possession, custody or control” and the defendant can

6     show they are “material to preparing the defense.” 2            Information is

7     in the prosecutor's “possession” if it is held by members of the

8     prosecution team, such as investigating agents, or if it is held by

9     other executive branch agencies and the prosecutor has “knowledge of
10    and access to” the evidence. United States v. Bryan, 868 F.2d 1032,
11    1036 (9th Cir. 1989)

12          Discovery in criminal cases is limited.           Indeed, “[t]here is no

13    constitutional right to discovery in a criminal case.”              Weatherford

14    v. Bursey, 429 U.S. 545 (1977).        To obtain discovery under Rule 16, a

15    defendant must make a prima facie showing of materiality.              This

16    “requires a presentation of facts which would tend to show that the

17    [g]overnment is in possession of information helpful to the defense.”

18    United States v. Stever, 603 F.3d 747, 752 (9th Cir. 2010).               “A

19    general description of the materials sought or a conclusory argument

20    as to their materiality is insufficient to satisfy the requirements

21    of [Rule 16(a)(1)(E)(i)].”      United States v. Cadet, 727 F.2d 1453,

22    1468 (9th Cir. 1984) (quoting United States v. Conder, 423 F.2d 904,

23

24
            2Effective December 1, 2013, Rule 16(a)(2) was amended to
25    clarify information that is not subject to disclosure. Notably,
      discovery or inspection of reports, memoranda or other internal
26    government documents made by a government attorney or other
      government agent investigating or prosecuting the case are not
27    discoverable, except as permitted in Rule 16(a)(1)(A) through (D),
      (F) and (G). Fed. R. Crim. P. 16(a)(2). The rule also clarifies
28    that statements made by prospective government witnesses are not
      discoverable except as provided in the Jencks Act. Id.
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1     910 (6th Cir. 1970) (defendant’s discovery request that sought

2     documents the government did not intend to use at trial was too far

3     ranging and potentially burdensome)); see also United States v.

4     Muniz-Jaquez, 718 F.3d 1180, 1183 (9th Cir. 2013) (“General

5     descriptions of information sought and conclusory allegations of

6     materiality are insufficient.”).        “The government has no obligation

7     to produce information which it does not possess or of which it is

8     unaware.”    Sanchez v. United States, 50 F.3d 1448, 1453 (9th Cir.

9     1995).     “[A] federal prosecutor need not comb the files of every
10    federal agency which might have documents regarding the defendant in
11    order to fulfill his or her obligations under [Rule 16].”              United
12    States v. Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989); see also Kyles

13    v. Whitley, 514 U.S. 419, 437 (1995) (“We have never held that the

14    Constitution demands an open file policy . . . .”).

15          The government's disclosure obligations under Brady and Giglio

16    apply only to material and favorable evidence.            United States v.

17    Ruiz, 536 U.S. 622, 629 (2002) (noting that “the Constitution does

18    not require the prosecutor to share all useful information with the

19    defendant”).    The government continues to comply with its Brady

20    obligations in this case, but Brady does not require the government

21    to disclose every scrap of evidence that could conceivably benefit a

22    defendant.    Moore v. Illinois, 408 U.S. 786, 795 (1972).

23    III. ARGUMENT

24          A.    The Government Has Produced All Video and Audio Recordings
                  of Defendant’s Assault on J.P., and Defendant’s Demand for
25                Further Recordings Seeks Irrelevant Evidence
26
            On March 26, 2023, the government produced surveillance video of
27
      Mr. Reyes’ assault on J.P. in a pre-indictment production.
28

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1    (USAO_Early_000001). Shortly thereafter, on April 30, 2023, the

2    government produced additional video from ten OmniNet surveillance

3    cameras in the same complex showing different views of the building

4    during the relevant time, including the defendant’s approach to the

5    SSA, and a second camera angle on the assault as it took place (as

6    well as the ensuing police response). (USAO_006160). This video

7    begins approximately five minutes before defendant assaulted J.P.,

8    and continues for approximately 20 minutes afterward. The government

9    also produced the body camera videos of the Ventura Police Officers
10   (VPD) who responded to the incident (USAO_006161-6169), and video
11   recordings of defendant’s mirandized interview (USAO_006155-6157). On
12   August 9, 2024, in response to defense requests, the government
13   obtained and produced a longer, 27-minute version of the original
14   video from the social security office exterior camera, beginning
15   approximately one minute before defendant approached the social
16   security office, and continuing for approximately another twenty-five
17   minutes following the assault until defendant was taken away in
18   police custody. (USAO_006658). This is all the video in the

19   government’s possession or to which it has access, and all the video

20   that has been preserved from the day of the event.

21        The government does not have video of the interior of the

22   Ventura SSA in its possession, and such video is neither material nor

23   relevant to this case because the defendant never entered the Ventura

24   SSA. Defendant’s first argument on this subject, that footage of the

25   inside lobby is material because it would “show[] the entire

26   interaction between Mr. Reyes and J.P[,]” (Def’s Mot. to Compel

27   (“Mot.” at 4), is therefore demonstrably false. The entire

28   interaction—from Mr. Reyes walking across the parking lot and up to

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1    the entrance, to his being removed in a police vehicle—is captured on

2    two separate cameras, and at no point does defendant ever enter the

3    building. Interior video footage would therefore reveal nothing at

4    all about defendant’s interaction with J.P.

5         Next, defendant argues that video of the interior of the

6    building is material because it will “show[] what Mr. Reyes may have

7    seen and been responding to when he encountered J.P.” (Id.) As a

8    threshold issue, it is already clear what defendant is responding to

9    from the video: J.P. hands defendant a facemask, and then defendant
10   throws it at J.P.’s face before punching him. The entire sequence of
11   events from J.P.’s arrival at the door to his punching J.P takes
12   approximately fourteen seconds, during which time defendant also
13   throws the mask and briefly walks away. (See USAO_006658). The video
14   makes clear that defendant was not responding to anything except the

15   fact that J.P. told him he needed to wear a facemask in accordance

16   with the posted sign.

17        The defense argues, however, that the interior video is material

18   because Mr. Reyes stated during his interview that “‘they already had

19   someone laid out on the floor [inside the office]’ and that was why

20   ‘they [J.P.] didn’t wanna even let me in there,’” (Mot. at 4.). As

21   the full text of those interview statements makes clear, however, law

22   enforcement had good reason for not finding defendant’s assertions

23   credible, as defendant repeatedly claimed he had been deliberately

24   ambushed by a group of people at the SSA who were hostile to him:

25        Officer Vasquez: “what’s that ten minute before and ten
          minute after going to show us?”
26
          Defendant: “I’m pretty sure it’ll show you that it was all
27        planned, everything they did was planned. Everything,
          everything. They already had someone laid out on the floor
28

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1         they wouldn’t even let me in there. Alright? That’s why I
          want you to get the video.
2
          (USAO_006159, 3:20-3:35). Defendant reiterates his assertion
3
     that he was the victim of a concerted plan again the next time he
4
     raises the subject of cameras:
5
          All you gotta do is pull up the cameras man, you guys’ll
6         see that it was all [expletive] planned, everything they
          did, there’s a whole group of people there, the lady was
7         screaming and yelling we’re the ones taking you. Just pull
          up the camera audio and video and you guys’ll see.
8
          (Id. at 10:53-11:07). Defendant’s insistence that he had been
9
     caught in a pre-planned ambush appears to have been connected to his
10
     larger belief that there are people with a vendetta against him at
11
     the social security office:
12
          Defendant: I’ve been fighting with the social security
13        office and a group of officers and a group of people for
          four years over them telling me that I’m not who I am.
14
          (Id. at 2:10-2:15). While law enforcement may sometimes follow
15
     up on an investigate lead provided by a defendant, they are not
16
     required to indulge a defendant in what is clearly a fantasy,
17
     particularly in this case, where they were fully aware defendant had
18
     never entered the Ventura SSA. Defendant’s second claimed basis for
19
     materiality, therefore—that the interior cameras are relevant because
20
     defendant thinks he saw something going on in the office that somehow
21
     influenced his behavior—also fails.
22
          Finally, no further video is available.          Because defendant never
23
     entered the Ventura SSA and the interior video was not relevant to
24
     this case, video of the interior of the office was not preserved.
25
     Security surveillance video at the Ventura SSA is overwritten after
26
     between 30 and 45 days. In this case, that would have been on March
27
     26, 2023, at the latest (45 days after February 10, 2023). By the
28

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1    time defense counsel requested additional video on April 19, 2023

2    (Mot. at 1), therefore, any video not already preserved from the date

3    of the incident would have been overwritten approximately a month

4    earlier. Because any additional video evidence would show nothing

5    pertinent to this case, however, defendant’s request for an adverse

6    jury instruction (made in a footnote) is without merit, and the Court

7    should deny it. 3

8         B.    The Government Has Produced All Evidence in Its Possession
                Related to the Face Mask Policy at the Ventura SSA, and Any
9               Further Production Will be Cumulative
10        The government has provided the defense with photos of the signs
11   posted at the doorway where J.P. was standing on the day of
12   defendant’s assault, which states clearly in block text: “ATTENTION
13   VISITORS YOU MUST WEAR A FACEMASK AT ALL TIMES,” (USAO_006613; Magaña
14   Dec. Ex. A), as well as the PSO Post Orders in effect on the date of
15   the incident, which state “PSO [Protective Security Officer] will
16   instruct visitors to maintain physical distancing and to wear a
17   mask.” (USAO_000110). The government has further provided the defense
18   with electronic copies of multiple covid-related signs issued for
19   posting at the SSA. (Magaña Decl. Ex. B). These documents more than
20   make clear that the Ventura SSA required all customers to wear a mask
21   on the date that defendant assaulted J.P. 4 Defendant has not
22   explained what relevance any further documents on this subject might
23   have, and this request seeks evidence that is cumulative if not
24
          3 Defendant’s motion does not explain its basis for seeking an
25   adverse jury instruction, and the government reserves the right to
     respond fully should defendant make such an argument.
26
          4 Compliance with posted signs is also required by 41 CFR 102-
27   74.385 (“Persons in and on property must at all times comply with
     official signs of a prohibitory, regulatory or directory nature and
28   with the lawful direction of Federal police officers and other
     authorized individuals.”)
                                       11
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1    irrelevant. Nevertheless, the government has requested that SSA OIG

2    provide any further documents responsive to this request, and will

3    provide anything further it receives from the SSA.

4         C.    The Government Has Produced All Material from the
                Defendant’s SSA File In Its Possession
5
          Defendant has requested all materials from the defendant’s
6
     social security file.     While it is unclear how any of these
7
     additional materials are relevant in any way to defendant’s assault
8
     of J.P., regardless, as noted above, the government has already
9
     produced all files related to the defendant that were in the custody
10
     of the Ventura Social Security Office. Additionally, the government
11
     has provided defendant with the appropriate form to request any
12
     category of records he wishes from SSA more broadly, and has further
13
     offered to help expedite defendant’s request. Consequently, this
14
     issue has already been addressed.
15
          D.    Defendant is Not Entitled to Grand Jury Transcripts
16
          Defendant has to show that there is a “particularized need” for
17
     disclosure of grand jury materials under Rule 6(e), but fails to
18
     demonstrate any such need beyond speculating that perhaps there may
19
     be impeachment material in the transcripts. The government is aware
20
     of its Jencks obligations, and has informed defendant that none of
21
     the government’s witnesses at trial testified in grand jury.
22
          Grand jury secrecy is governed by Federal Rule of Criminal
23
     Procedure 6(e) and by more than a century of jurisprudence holding
24
     that the reasons for grand jury secrecy are “compelling” given that
25
     the grand jury is a cornerstone of the criminal justice system,
26
     holding a “‘high place . . . as an instrument of justice.’”
27
     Pittsburgh Plate Glass Co. v. United States, 360 U.S. 395, 399 (1959)
28

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1    (quoting Costello v. United States, 350 U.S. 359, 362 (1956)).            As

2    the Supreme Court explained in Pittsburgh Plate Glass, the grand jury

3    is “convened as a body of laymen, free from technical rules, acting

4    in secret, pledged to indict no one because of prejudice and to free

5    no one because of special favor.”       360 U.S. at 400 (internal

6    quotation marks omitted).     “To make public any part of its

7    proceedings would inevitably detract from its efficacy,” as “[g]rand

8    jurors would not act with that independence required of an accusatory

9    and inquisitorial body.”     Id.; see also Douglas Oil Co. of Cal. v.
10   Petrol Stops Nw., 441 U.S. 211, 218 (1979) (“We consistently have

11   recognized that the proper functioning of our grand jury system

12   depends upon the secrecy of grand jury proceedings.”).          The purposes

13   of grand jury secrecy are enumerated in Douglas Oil and include

14   “insur[ing] the utmost freedom to the grand jury in its

15   deliberations” and “encourag[ing] free and untrammeled disclosures by

16   persons who have information with respect to the commission of

17   crimes.”   441 U.S. at 219 n.10 (citing United States v. Procter &

18   Gamble Co., 356 U.S. 677, 681-682 n.6 (1958)).

19        Before a court may order the disclosure of grand jury material,

20   a defendant must first “show[] that a ground may exist to dismiss the

21   indictment because of a matter that occurred before the grand jury.”

22   Fed.R.Crim.P. 6(e)(3)(E)(ii).      This requires a defendant to

23   demonstrate a strong showing of a “particularized need” or

24   “compelling necessity” for disclosure which outweighs the policy of

25   grand jury secrecy.      Fed.R.Crim.P. 6(e); Douglas Oil Co. v. Petrol

26   Stops Northwest, 441 U.S. 211, 218-22 (1979); United States v. Sells

27   Engineering, Inc., 463 U.S. 418, 443 (1983).          The particularized need

28   standard is sufficiently met when the parties show “the material they

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1    seek is needed to avoid a possible injustice in another judicial

2    proceeding, that the need for disclosure is greater than the need for

3    continued secrecy, and that their request is structured to cover only

4    material so needed.”     Douglas Oil Co., 441 U.S. at 222.        Put simply,

5    Rule 6(e) “is not an invitation to engage in a fishing expedition to

6    search for grand jury wrongdoing and abuse when there are no grounds

7    to believe that any wrongdoing or abuse has occurred.”          United States

8    v. Loc Tien Nguyen, 314 F. Supp. 2d 612, 616 (E.D. Va. 2004).

9    Indeed, the Ninth Circuit has explicitly cautioned district courts
10   against “allowing across the board fishing expeditions” into grand
11   jury transcripts.    United States v. Kim, 577 F.2d 473, 478 (9th Cir.
12   1978).

13         Defendant’s request in this case is a fishing expedition.

14   Defendant has failed to make any actual factual allegations that

15   would support a particularized need for grand jury transcripts.

16   Consequently, his request should be denied.

17   IV.   CONCLUSION

18         For the reasons outlined above, the government respectfully

19   requests that the Court deny defendant’s Motion to Compel.

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